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              EXHIBIT F
          FILED UNDER SEAL
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 1                      UNITED STATES BANKRUPTCY COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA
 3                             LOS ANGELES DIVISION
 4      ______________________________________________________
 5      In Re:                               )    Case No.
 6                                           )    2:19-bk-14989-WB
 7      SCOOBEEZ, et al.                     )    Jointly Administered:
 8      Debtors and Debtors in               )    2:19-bk-14991-WB
 9      Possession.                          )    2:19-bk-14997-WB
10      ______________________________________________________
11        VIDEO RECORDED DEPOSITION UPON ORAL EXAMINATION OF
12                                CAREY RICHARDSON
13      ______________________________________________________
14                                    10:08 a.m.
15                                FEBRUARY 13, 2020
16                      1200 FIFTH AVENUE, SUITE 1820
17                              SEATTLE, WASHINGTON
18
19
20
21
22
23      REPORTED BY: CARLA R. WALLAT, CRR, RPR, CCR 2578
24      JOB NO. 3980836
25      PAGES 1 - 216

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 1     cure and it's a 30-day.     And we are looking for the            02:09

 2     appropriate evidence to support, you know, closing out            02:09

 3     any sort of breach of contract.                                   02:09




23          Q.   And do you look at driver performance in                02:11

24     deciding which drivers to help transition to new                  02:11

25     opportunity?                                                      02:11

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 1     essentially walked through what they could anticipate                03:10

 2     and expect at a 90-day scored audit and what they                    03:10

 3     really should prepare for.        So that is what Nehal is           03:10

 4     describing to Micah.                                                 03:10

 5                       MR. ESTERKIN:     So let me -- do you mind         03:11

 6     if I ask a quick question to clarify that?            So when        03:11

 7     we're talking about the 30 and 90 days, you're talking               03:11

 8     about 30 days from the time a new DSP is onboarded?                  03:11

 9                       THE WITNESS:     That is correct.                  03:11

10                       MR. ESTERKIN:     And 90 days from the time        03:11

11     a DSP is onboarded?                                                  03:11

12                       THE WITNESS:     That's correct.                   03:11

13                       MR. ESTERKIN:     This wouldn't apply to           03:11

14     DSPs that had been on -- been working with Amazon for                03:11

15     some extended period of time prior to this.                          03:11

16                       THE WITNESS:     That, too, is correct.            03:11

17          Q.   (BY MS. NIX-HINES)       But did the ones that had         03:11

18     been, I think you referred to them as legacy DSPs, the               03:11

19     ones who had already been in process, did they -- were               03:11

20     the questions simplified for their audits?                           03:11

21          A.   Yes, they receive the same audit workbook.                 03:11

22          Q.   Okay.     So it was reduced for everyone?                  03:11

23          A.   Uh-huh.                                                    03:11

24          Q.   But the only ones that got the 90-day                      03:11

25     walkthrough or preview were the new ones?                            03:11

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 1          A.   30 day.                                                  03:11

 2          Q.   I mean, the 30 day, sorry, yes.                          03:11

 3          A.   Were the new DSPs.       We did share the 30-day         03:11

 4     walkthrough, it's a simple one-page checklist, with                03:11

 5     DSPs who had not been audited yet.           Again, just in        03:11

 6     preparation to help them prepare.                                  03:12

 7          Q.   And that checklist would be the same one used            03:12

 8     for the legacy DSPs?                                               03:12

 9          A.   I'd have -- I'd have to confirm because some             03:12

10     of the -- I'd have to confirm only because legacy -- or            03:12

11     DSP 1.0, maybe not all of the requirements would have              03:12

12     been the same, so I'd have to work with my team to                 03:12

13     understand if we had two separate checklists to -- to              03:12

14     share.                                                             03:12

15                       MR. ESTERKIN:     And that would be -- be        03:12

16     because of the contractual differences?                            03:12

17                       THE WITNESS:     Uh-huh.     The contractual     03:12

18     differences would be the primary reasons for any sort              03:12

19     of differences.                                                    03:12

20          A.   Oh, my gosh.                                             03:12

21          Q.   (BY MS. NIX-HINES:       So -- yeah, if you could        03:12

22     just look at the headings on the top so while we go                03:12

23     down --                                                            03:13

24                       MS. DAVIS:     Do you want it bigger?            03:13

25                       MS. NIX-HINES:     It could be a little          03:13

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 1     I'm recalling is we provided a current snapshot of                  03:45

 2     their compliance.                                                   03:45

 3          Q.   If you look at 2461, paragraph 3, "We will                03:45

 4     take your feedback on compliance and work with Carey's              03:46

 5     team to re-review the compliance history data and use               03:46

 6     the following criteria."                                            03:46

 7               And then it's listed there.           Is that what        03:46

 8     you're referring to, a deeper dive?                                 03:46

 9          A.   Yeah.     "Audited more than once."                       03:46

10          Q.   "Five or more critical/high-risk compliance               03:46

11     infractions"?                                                       03:46

12          A.   Uh-huh.                                                   03:46




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11          Q.   (BY MS. NIX-HINES)      What's the time table from           03:50

12     when -- time frame when a DSP is identified to have a                  03:51

13     compliance-related issue or a litigation issue and then                03:51

14     it's slated for termination?                                           03:51

15                      MR. ESTERKIN:     Objection.        Incomplete        03:51

16     hypothetical.    Vague.   Compound.                                    03:51

17          Q.   (BY MS. NIX-HINES)      How long does it take --             03:51

18     I'll rephrase.                                                         03:51

19               How long does it take for -- once a DSP has                  03:51

20     been identified for termination, how long does it take                 03:51

21     to actually get that DSP out the door and no longer                    03:51

22     working for Amazon?                                                    03:51

23                      MR. ESTERKIN:     Objection.        Incomplete        03:51

24     hypothetical.    Vague.   Calls for speculation.                       03:51

25          A.   I don't have the average time frame it takes                 03:51

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 1     from decision made to actual out the door.              Some of        03:51

 2     these are much more complicated than others where                      03:52

 3     you'll have warn implications.           So it could be 60-plus        03:52

 4     days.        Others if they're operating out of one station            03:52

 5     with 15 drivers, there's no warn, pretty                               03:52

 6     straightforward, so it could be shorter.                               03:52

 7             Q.     (BY MS. NIX-HINES)    Are there some DSPs that          03:52

 8     have been notified and then they're still working for                  03:52

 9     the company, you know, three, six months later?                        03:52

10                          MR. ESTERKIN:    Well, Scoobeez is one of         03:52

11     those, isn't it?                                                       03:52

12             A.     I was going to say I don't know.                        03:52




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10          Q.    (BY MS. NIX-HINES)      Can you think of any other           03:54

11     ways that Amazon would be harmed in such circumstances?                 03:54

12          A.    I mean, certainly they could be --                           03:54

13                       MR. ESTERKIN:     Objection.        Incomplete        03:54

14     hypothetical.                                                           03:54

15          A.    They could be sued, so financially, time and                 03:54

16     energy and financial related to a lawsuit.                              03:54

17          Q.    (BY MS. NIX-HINES)      By the DSP that's being              03:54

18     exited?                                                                 03:54

19          A.    Yes.                                                         03:54

20          Q.    Has that ever occurred, to your knowledge?                   03:54

21          A.    Aren't we doing that right now?                              03:54

22          Q.    Have you seen any specific harms to Amazon                   03:55

23     from the fact that Scoobeez is still operating for the                  03:55

24     company?                                                                03:55

25          A.    I'm not -- I'm not close to the -- to the                    03:55

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 1     have an on-the-job injury.                                        03:58

 2          A.   Uh-huh.                                                 03:58




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16             Q.   (BY MS. NIX-HINES)    So turning to 2467 in the           04:01

17     same exhibit, Number 1, "Follow-ups:           Generate the exit       04:02

18     list by looking at DSPs who are uncooperative in                       04:02

19     ongoing litigation; and, two have a history of                         04:02

20     compliance issues, even if they don't currently have an                04:02

21     open compliance issue."                                                04:02

22                  What does that mean, what do those follow-ups             04:02

23     mean?                                                                  04:02

24                        MR. ESTERKIN:    Objection.        Compound.        04:02

25             Q.   (BY MS. NIX-HINES)    Okay.     Let's take them one       04:02

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 1     might refresh her recollection as to whether they're              05:09

 2     still there.                                                      05:09

 3          A.    Yeah, and unfortunately, I'm not familiar with         05:09

 4     the short codes and so I wouldn't -- I don't recall and           05:09

 5     I don't even know who some of these could even                    05:10

 6     represent.                                                        05:10

 7          Q.    (BY MS. NIX-HINES)     Are there any on the list       05:10

 8     that are -- that you know are currently still                     05:10

 9     delivering packages for Amazon?                                   05:10

10          A.    Scoobeez.                                              05:10

11          Q.    Besides Scoobeez?                                      05:10

12          A.    Well, I don't even know if they're -- again, I         05:10

13     don't -- I don't know how many routes Scoobeez even               05:10

14     has, so.                                                          05:10




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20          Q.   And when did this -- this issue arise?                   05:14

21          A.   We started --                                            05:14

22                      MR. ESTERKIN:     Objection.        Vague.        05:14

23     You're asking when --                                              05:14

24          Q.   (BY MS. NIX-HINES)      When did this issue with         05:14

25     the four 10 schedule and the California regulation                 05:14

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 1                          REPORTER'S CERTIFICATE

 2

 3             I, CARLA R. WALLAT, the undersigned Certified Court

 4      Reporter pursuant to RCW 5.28.010 authorized to administer

 5      oaths and affirmations in and for the State of Washington, do

 6      hereby certify that the sworn testimony and/or proceedings, a

 7      transcript of which is attached, was given before me at the

 8      time and place stated therein; that any and/or all witness(es)

 9      were duly sworn to testify to the truth; that the sworn

10      testimony and/or proceedings were by me stenographically

11      recorded and transcribed under my supervision, to the best of

12      my ability; that the foregoing transcript contains a full,

13      true, and accurate record of all the sworn testimony and/or

14      proceedings given and occurring at the time and place stated

15      in the transcript; that a review of which was requested; that

16      I am in no way related to any party to the matter, nor to any

17      counsel, nor do I have any financial interest in the event of

18      the cause.

19             WITNESS MY HAND AND DIGITAL SIGNATURE this 17th day of

20      February, 2020.

21

22

23             <%19863,Signature%>

24             CARLA R. WALLAT

               Washington State Certified Court Reporter, #2578

25             Oregon State Certified Shorthand Reporter, #16-0443

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